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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF ROBERTO
                                     Plaintiffs,           ORDEÑANA, OF GLBT HISTORICAL
18
                                                           SOCIETY, IN SUPPORT OF
19          v.                                             PLAINTIFF’S COMPLAINT AND
                                                           MOTION FOR PRELIMINARY
     DONALD J. TRUMP, in his official capacity as          INJUNCTION
20     President of the United States, et al.
21
                                     Defendants.
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             I, Roberto Ordeñana, hereby state as follows:
 1

 2           1. I am the Executive Director of the GLBT Historical Society, a nonprofit 501(c)(3)

 3   organization based in San Francisco, California. I have served in this capacity since October 2022.

 4           2. Founded in 1985, the GLBT Historical Society is a global leader in LGBTQ+ public
 5
     history. Fourteen years ago, the GLBT Historical Society established and continues operating the
 6
     first museum of LGBTQ+ history and culture in the United States. It established and still maintains
 7
     the Dr. John P. DeCecco Archives, one of the largest repositories of LGBTQ+ historical materials
 8
     in the world.
 9

10           3. I submit this Declaration in support of Plaintiffs’ Complaint and Motion for a

11   Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
12   enforcing Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and
13
     Restoring Biological Truth to the Federal Government” (“Gender Order”), issued January 20, 2025;
14
     Executive Order No. 14151 “Ending Radical and Wasteful DEI Programs and Preferencing,”
15
     issued January 20, 2025; and Executive Order No. 14173 “Ending Illegal Discrimination and
16

17   Restoring Merit-Based Opportunity,” issued January 21, 2025 (collectively, the “Executive

18   Orders”), and related agency directives that seek to enforce these Presidential actions.

19           4. The GLBT Historical Society collects, preserves, exhibits, and makes accessible to the
20   public materials and knowledge to support and promote understanding of LGBTQ+ history, culture,
21
     and arts in all their diversity.
22
             5. The organization was founded during the height of the HIV/AIDS epidemic;
23
     community members began collecting materials belonging to primarily gay and bisexual men who
24

25   were dying of AIDS-related illnesses when families of origin had abandoned them, and healthcare

26   systems and the government had failed them. Their contributions to the community and culture

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     were at risk of being erased, and organizers needed to act quickly before more memories
 1

 2   disappeared. This was also a time when many archival repositories excluded LGBTQ+ historical

 3   records, and LGBTQ+ primary source materials were not available to scholars and researchers.

 4   The founders of the GLBT Historical Society wanted to establish a robust repository of LGBTQ+
 5
     historical materials with public access to allow for the chronicling of the contributions of LGBTQ+
 6
     individuals and groups to civil society, their activism, and the organizing necessary to challenge
 7
     multiple forms of intersecting oppression impacting LGBTQ+ people.
 8
            6. The GLBT Historical Society’s Archives and Special collections are among the largest
 9

10   and most extensive holdings in the world of materials about LGBTQ+ people, occupying more

11   than 4,000 linear feet of storage, equivalent to the distance from the rim of the Grand Canyon to
12   the floor. Our over 1,000 collections, spanning over a century’s worth of LGBTQ+ history about
13
     San Francisco, Northern California, and beyond, include personal papers, organizational records,
14
     periodicals, oral histories, photographs, audiovisual material, ephemera, artifacts, and works of art.
15
     Some of our most treasured holdings include the last remaining segment of the original Pride flag
16

17   created in 1978 by Gilbert Baker and friends; the suit that Supervisor Harvey Milk was wearing

18   when he was assassinated along with a note carried in his pocket on that fateful day; and the

19   journals of Louis Sullivan, a gay and transgender community activist, lay historian, diarist, and a
20   GLBT Historical Society founding member. It also includes the Denise D’Anne Papers that
21
     document the life of a proud, pioneering transgender woman who was an activist, environmentalist,
22
     and civil servant. And the Lorraine Hurdle Papers, which provide insight into the life of an African
23
     American lesbian and army veteran who served in Germany during World War II. It includes the
24

25   Phyllis Lyon and Del Martin Papers, which document the life and work of these lesbian pioneers

26   and activists who, in 1955, co-founded the first lesbian civil and political rights organization in the

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28                                                     2
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     United States, the Daughters of Bilitis. The José Sarria Papers, which chronicle the life and work
 1

 2   of this legendary drag queen, World War II veteran, and the first openly gay candidate to run for

 3   public office in the United States, running in 1961. The papers of longtime bisexual activist and

 4   sexologist, Maggi Rubenstein (nicknamed the “Godmother of SexEd”) are also part of the
 5
     collection. As are the papers of Elsa Gidlow, lesbian poet who wrote On a Grey Thread (1923),
 6
     believed to be the first book of openly lesbian love poetry published in North America. It also
 7
     includes collections relating to the founding and development of Gay American Indians, the first
 8
     recorded organization for LGBTQ+ Native Americans in the United States, and so many more
 9

10   collections.

11          7. Our over 1,000 collections provide source material to diverse researchers, including
12   educators, students, journalists, filmmakers, professional scholars, artists and others. We welcome
13
     researchers to our publicly accessible reading room throughout the year and serve an incredibly
14
     high volume of remote researchers through our website, email, and phone reference services and
15
     digital collections. Visitors come from all over the world to engage with materials as they produce
16

17   a wide array of exhibitions, books, academic publications, theses, documentaries, films, and works

18   of visual and performing arts. In a typical year, our archives reading room receives approximately

19   400 visitors to access materials. We serve as a trusted repository for the LGBTQ+ community’s
20   history, and we continue to actively collect new materials; on average we respond to around 15-
21
     25 donation inquiries a month and we work with community groups and individuals to ensure the
22
     community’s history is not lost, destroyed or forgotten.
23
            8. The Executive Orders pose a grave threat to our mission, our work, and our community.
24

25          9. The Gender Order is particularly harmful and offensive to our organization and

26   community. Transgender, nonbinary, and gender-expansive community members, regardless of

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28                                                   3
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     named identities, have always existed and been at the forefront of our modern-day LGBTQ+ civil
 1

 2   rights movement. From contemporary Two-Spirit activists who keep alive the histories of ancestral

 3   Indigenous peoples and their systems of gender and sexuality that embraced same-sex intimacy

 4   and honored those whose gender transcended the male/female binary enforced by Christian
 5
     colonists to the patrons of Compton’s Cafeteria in San Francisco who stood up to police
 6
     harassment in August of 1966 or the patrons of the Stonewall Inn in New York City who mounted
 7
     a weeklong uprising also against the harassment by law enforcement three years later in June of
 8
     1969, queer and transgender people have refused to be silenced or erased. Exhibiting and creating
 9

10   greater access to LGBTQ+ history and culture has never been more important, and the GLBT

11   Historical Society is committed to combating the attempted erasure of transgender contributions,
12   past, present, and future.
13
            10. On February 13, 2025, the National Park Service, pursuant to the Gender Order,
14
     removed references from the government web pages of the Stonewall National Monument in lower
15
     Manhattan. The National Park Service removed the letters “T” and “Q,” which stands for
16

17   transgender and queer people, removed facts that acknowledged participants in the Stonewall Riots

18   were transgender or worked on behalf of transgender rights, and deleted entire web pages dedicated

19   to Marsha P. Johnson and Silvia Rivera, who were celebrated transgender advocates that
20   contributed to the Stonewall Riots. While neither “transgender” nor “queer” were commonly used
21
     as terms of identity in 1969, “transvestite,” “transexual,” and other similar terms were, including
22
     by people at the Stonewall Inn and the protests that followed. The historical record does not support
23
     these changes concerning the events that the Stonewall National Monument commemorates.
24

25   Participants in the Stonewall Riots challenged both mistreatment based on their sexual orientation

26   and mistreatment based on how they expressed their gender in everyday life. Efforts to address

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     both forms of oppression were part of the uprising in 1969 and the civil rights struggle that
 1

 2   followed. Any accurate account of the Stonewall Riots and the subsequent fight for LGBTQ+ civil

 3   rights must recognize the full range of people who joined the uprising and the full scope of the

 4   oppression they faced. The actions of the National Park Service reduce these events to a story that
 5
     is only about sexual orientation, but that interpretation lacks basis in historical fact and distorts the
 6
     legacy of this important event in American history. This is exactly why private organizations like
 7
     the GLBT Historical Society must maintain accurate records of history to prevent the permanent
 8
     loss of this knowledge.
 9

10           11.     The GLBT Historical Society would not be able to advance public knowledge and

11   accurate history – invaluable resources for understanding the challenges of the present and
12   inspiring dreams for a future of greater social justice for our community – without creating access
13
     to accurate representations of transgender, nonbinary, and gender-expansive people throughout
14
     time. It is catastrophic to civil society and to the fields of history, education, public health, art,
15
     and culture to erase the existence and contributions of any member of the LGBTQ+ community,
16

17   especially transgender, non-binary, and gender-expansive people who together have faced and

18   stood up against some of the most impactful forms of violence, economic marginalization, and

19   health disparities in our community's history. But that is precisely what the Executive Orders seek
20   to do. They are symbolic acts of violence—akin to digital book burning.
21
             12.     It is core to the GLBT Historical Society’s mission to shine a light on the histories
22
     of the most historically marginalized members of our LGBTQ+ community, including women,
23
     transgender, non-binary, gender expansive people, BIPOC, bisexual, and LGBTQ+ community
24

25   members with disabilities – histories that dominate narratives have not amplified in equal measure

26   to other segments of our community and that still today are portrayed in inaccurate representations

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     and through stereotypes. The GLBT Historical Society seeks to share a history that is as close to
 1

 2   complete and accurate as possible of our city, region, and community’s past. The Executive Orders

 3   directly attack all this important work, which is critical to our organization’s mission.

 4          13.     The DEI Executive Orders also harm and undercut the very purpose and mission of
 5
     our organization, and its ability to serve our community. The GLBT Historical Society is
 6
     committed to advancing racial and gender equity, accessibility, and inclusion as organizational
 7
     values, through our museum exhibitions, public programming, archival collecting, community
 8
     partnerships, and operations. We intentionally prioritize content highlighting historically
 9

10   underrepresented and underserved communities in archival, exhibition, and other public history

11   programs. We also ensure that historically marginalized communities are integral to all aspects of
12   the organization to foster trusting relationships and collaborations that counter established systems
13
     of racism, sexism, biphobia, transphobia, ableism, and other forms of oppression. We build on
14
     these relationships and partnerships with historians, archivists, educators, artists, curators, and
15
     community members to preserve, celebrate, and share diverse LGBTQ+ histories and cultures. The
16

17   DEI Executive Orders would, however, prevent us from fulfilling this core commitment by

18   relegating our equity and inclusion efforts to “illegal and immoral discrimination programs” and

19   “illegal preferences and discrimination.”
20          14.     For nearly 20 years, federal funding, mainly from the National Endowment for the
21
     Humanities (NEH) and the National Archives through the National Historic Publications and
22
     Records Commission (NHPRC), has allowed the GLBT Historical Society to preserve, digitize,
23
     catalog, and make accessible thousands of materials for public research. Current funding from an
24

25   open NHPRC grant of approximately $122K supports work to process, digitize, and create online

26   access for collections related to LGBTQ+ Asian American/Pacific Islander people. We also have

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     an open NEH grant of around $10K that supports the purchase of a new archival storage cabinet
 1

 2   to ensure the continued care of our ever-expanding collections.

 3          15.     For over 14 years, the GLBT Historical Society has operated the nation’s first

 4   museum of LGBTQ+ history and culture, and in a typical year (before the COVID pandemic), the
 5
     museum receives an average of 20,000 annual visitors from all over the world. Patrons include
 6
     members of the LGBTQ+ community along with allies, educators, student groups, researchers,
 7
     scholars, artists, and other members of the public who can access exhibitions that highlight archival
 8
     holdings, share the contributions of LGBTQ+ people to history, community and culture, and
 9

10   highlight the resilience and strength of our community through organizing and activism.

11   Exhibitions reflect the diversity of the intersecting identities represented in the LGBTQ+
12   community. They are developed in collaboration with community curators and organizational
13
     partners to inspire the viewers to learn and take action in their local communities. We also host
14
     associated programs, talks, and community events in this vibrant public museum space.
15
            16.     The archives are committed to providing public access for all to this vital history.
16

17   From our no-cost, public archival reading room to our no-cost online resources and reference

18   services, we strive to ensure that anyone wanting to learn this history and use our archival material

19   has access. Our museum makes this history accessible to a diverse public audience through
20   narrative exhibitions and public programs. The Executive Orders’ censorship, on the other hand,
21
     is antithetical to our work and hampers the public’s ability to engage in critical discourse, evidence-
22
     based debate and education, and historical inquiry. Attempts to erase LGBTQ+ primary source
23
     material and secondary research materials, or deny access to these resources, are grounded in a
24

25   desire to deny the very existence of the LGBTQ+ community. As an LGBTQ+ archive and

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     museum, our work has always been centered on preserving and sharing historical material to
 1

 2   combat this erasure.

 3          17.     It is vital for members of our LGBTQ+ community of all ages, particularly the most

 4   marginalized and vulnerable, including HIV+ and people living with AIDS, LGBTQ+ youth who
 5
     have higher rates of rejection, homelessness, and suicidal ideation compared to their cisgender
 6
     counterparts, and elders who have not only suffered great injustices when coming out and living
 7
     their lives authentically at a time when they had less legal protection in CA, lost many of their
 8
     friends and found-family and are also currently challenged with a lack of access to culturally
 9

10   competent support systems, to all see their histories reflected in exhibitions, public programming,

11   and archival materials that reaffirm their sense of identity, pride, and connection – which have
12   been proven to be determinants of favorable health outcomes and economic stability. The
13
     Executive Orders pose an existential threat to our ability to further this important work.
14
            18.     A whole generation of gay and bisexual men, transgender women, and people of
15
     color were lost during the height of the HIV/AIDS epidemic. Among the physical lives lost were
16

17   also the histories of individuals who contributed to our LGBTQ+ community and who made

18   countless contributions to society. Many of our archival holdings and even a current exhibition at

19   our museum today help preserve and keep these stories and memories alive. This work allows
20   researchers, educators, students, and artists to learn about the struggles of everyday life for HIV+
21
     people and people living with AIDS, including the activism and organizing work that called for
22
     better treatment and therapies, which ultimately forced the government to begin responding to this
23
     public health crisis. Access to our materials helps shape the historical narrative, helps HIV+ people
24

25   and people living with AIDS to feel seen and heard, and helps to inform future research, education,

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     and artistic works that advance prevention, care, and work to destigmatize people living with the
 1

 2   disease.

 3          19.      From 1985 to today, the GLBT Historical Society has been deeply rooted in the

 4   community. We work hard to ensure our community’s full cultural expression and representation.
 5
     We recognize the historical marginalization and compounding impacts of intersecting forms of
 6
     oppression on LGBTQ+ people of color, women, transgender, non-binary, gender-expansive
 7
     community members, and people with disabilities. We are committed to advancing racial and
 8
     gender equity, accessibility, and inclusion as organizational values, through our museum
 9

10   exhibitions, public programming, archival collecting, community partnerships, and operations. We

11   intentionally prioritize content highlighting historically underrepresented and underserved
12   communities in archival, exhibition, and other public history programs.
13
            20.      Our archival collection development policy prioritizes material that is
14
     underrepresented in our existing holdings. Our collection data demonstrates that our archives have
15
     a strong representation of the histories of gay men, white people, middle-class and wealthy people,
16

17   and cisgender individuals. We acknowledge the gaps in this representation and seek to strategically

18   expand the archives by focusing on collecting areas that include:

19                      a. Black, Latinx, Asian American and Pacific Islander, Southwest Asian and
20                         North African, and other people of color LGBTQ+ communities,
21
                           individuals, and histories.
22
                        b. LGBTQ+ Indigenous and Two-Spirit communities, individuals, and
23
                           histories.
24

25                      c. Transgender, intersex, and nonbinary communities, individuals, and

26                         histories.

27

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                        d. Lesbian communities, individuals, and histories, particularly queer women
 1

 2                          of color.

 3                      e. Material related to bisexual, pansexual, and asexual people, as well as other

 4                          underrepresented queer sexual communities.
 5
                        f. LGBTQ+ people with disabilities.
 6
                        g. LGBTQ+ poor and working-class people, including those experiencing
 7
                            homelessness.
 8
                        h. And Personal material created by LGBTQ+ sex workers and records related
 9

10                          to sex worker organizing.

11          21.     But the Executive Orders directly threaten our prioritization of these materials. We
12   ensure that historically marginalized communities are integral to all aspects of the organization to
13
     foster trusting relationships and collaborations that counter established systems of racism, sexism,
14
     biphobia, transphobia, ableism, and other forms of oppression. We build on these relationships and
15
     partnerships with historians, archivists, educators, artists, curators, and community members to
16

17   preserve, celebrate, and share diverse LGBTQ+ histories and cultures.

18          22.     The great majority of exhibitions mounted by the GLBT Historical Society are

19   inspired, proposed, and organized by LGBTQ+ community members. Community curators are
20   supported by archival and curatorial experts, who can help them tell complete and complex stories.
21
     Our public events similarly draw on public proposals and continued engagement with community
22
     partners to create a wide range of public programming.
23
            23.     Should we lose federal funding as a result of our inability to comply with the
24

25   Executive Orders, we would not be able to process, digitize, and make accessible priceless

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     historical materials that help researchers, scholars, educators, students, and artists create works of
 1

 2   intellectual and artistic merit that support a healthy and thriving civil society.

 3          24.     The Executive Orders, if enforced, would inflict irreparable harm on our

 4   organization and our community. They would jeopardize our ability to sustain our operations, staff,
 5
     and programs that depend on federal funding. They would compromise our ability to fulfill our
 6
     mission, vision, and values that guide our work. They would undermine our ability to serve our
 7
     community, especially the most vulnerable and marginalized members, who rely on our services,
 8
     resources, and support. They would damage our ability to preserve and share our community's
 9

10   history, culture, and arts, which are essential for our collective identity, memory, and resistance.

11   They would also deprive the public of the opportunity to access and learn from our historical
12   materials, which are vital for education, research, and artistic creation.
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